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Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 1 of 7 PageID #:13

DANIEL BECKWITH,

LOU DANIELSON, Chicago Police Officer,
DAVID SPELICH, Chicago Police Officer,
CITY OF CHICAGO,

To:

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

plaintiff, No. 02C 3420

V. JUDGE GETTLEMAN
Magistrate Judge Levin

JURY DEMAND

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defendants. (eS D

NOTICE OF FILING and CERTIFICATE OF SERVICE” \

1 4, 2002
ANTHONY PINELLI sUL 42 _
THOMAS M. BREEN aren
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53 West Jackson Blvd MICHA cra at
Suite 1460 CLES. La ete

Chicago, IL 60604

PLEASE TAKE NOTICE that on July 22, 2002, the City of Chicago will file

its Answer, Defenses and Jury Demand with the clerk of the above-captioned court. A
copy of that document is herewith served upon you.

i hereby certify that | have caused a copy of this notice and the attached

document to be served on the persons to whom it is addressed by hand delivery at the
address shown above on July 22, 2002.

30 North LaSalle Street 7B, / ~

Suite 900
Chicago, Illinois 60602 SHARON BALDWIN
(312) 744-6919 Senior Counsel
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Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 2 of 7 PagelD #:14

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DANIEL BECKWITH,

plaintiff, No. 02 C 3420

Vv. JUDGE GETTLEMAN
LOU DANIELSON, Chicago Police Officer,
DAVID SPELICH, Chicago Police Officer,
CITY OF CHICAGO,

Magistrate Judge Levin

JURY DEMAND

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defendants.

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CITY OF CHICAGO'S ANSWER, DEFENSES, WU 22?
AND JURY DEMAND 4g pOesES

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answers the complaint as follows:
Jurisdiction & Venue

1. The jurisdiction of the court is invoked pursuant to the Civil Rights Act 42
U.S.C. Sec. 1983 and the Constitution of the United States.

Answer: The City admits that this court has jurisdiction of this action
pursuant to 28 U.S.C. §§ 1331 and 1343.
2. All acts described herein occurred in the City of Chicago, County of Cook,
State of Illinois, and venue in the Northern District of Illinois, Eastern Division, is
appropriate.
Answer: The City admits that plaintiff was arrested in Chicago, Illinois
and that venue is correct in this district. The City is without
sufficient information to form a belief as to whether “the acts

described herein” cccurred at all.

Parties
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Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 3 of 7 PagelD #:15

3. Plaintiff Beckwith is a resident of Chicago, Illinois.
Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 3.

4. Defendants Danielson and Spelich are employed as Chicago police
officers by the City of Chicago.

Answer: The City admits the allegations of paragraph 4.
Facts

5. On April 4, 2001 Beckwith went to the Chicago Police Station located at
3600 N. Halsted Street, Chicago, Hlinois.

Answer: The City admits the allegations of paragraph 5.

6. Beckwith went to that station to inquire regarding his friend, Chris
Loughlin, who had been arrested earlier that day.

Answer: The City admits the allegations of paragraph 6.

7. Beckwith inquired of officers at the police station regarding Loughlin and
was told to leave.

Answer: Sergeant Danielson reported the circumstances of plaintiff's
arrest as follows: “Sub[ject} placed under arrest after
sub[ject] along with co-arrestee Lichtenstein entered 023
[23rd District] station and attempted to enter processing area
where sub[ject] Loughlin was being held. [Reporting
sergeant and reporting officer] ordered sub[ject] to leave the
station and sugjject] refused. sub[ject]’s actions disrupted
the desk personnel activity as well as the processing of

Loughlin. [Reporting sergeant] placed Beckwith under arrest
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Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 4 of 7 PagelD #:16

at which time Beckwith resisted [reporting sergeani’s]
attempts to place sub[ject] into custody. Beckwith pulled
away from [reporting sergeant] attempt to defeat arrest. As
sub[ject] attempted to pull away from [reporting sergeant] a
struggle ensued in which minimal force was used to gain
control of offender.” The City is without sufficient information
to form a belief as to the truth of the allegations of paragraph
7.

8. When Beckwith declined to leave, he was physically pushed down by the
officers, Danielson and Spelich, and suffered physical injuries.

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 8.

9. Beckwith was then told by officers Danielson and Spelich that he was
under arrest, and he was taken into the police station and charged with criminal
trespass to property and resisting arrest.

Answer: The denies that plaintiff was “taken into the police station” as
he was already in the police station when arrested. The City
admits the remaining allegations of paragraph 9.
10. Beckwith was held in custody until he was released on bond the next day.

Answer: The City admits the allegations of paragraph 10.

11. The criminal charge against Beckwith were subsequently dismissed in the
Circuit Court of Cook County, Illinois.

Answer: The City denies that the charges against Beckwith were

dismissed and states that they were stricken from the docket
Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 5 of 7 PagelD #:17

with leave to reinstate.

12. Asa direct and proximate result of the force used by defendants,
Beckwith suffered physical injury, pain and suffering, emotional distress and loss of
liberty.

Answer: The City is without sufficient information to form a belief as

to the truth of the allegations of paragraph 12.

43. As adirect and proximate result of his arrest and confinement, Beckwith
suffered emotional distress, loss of liberty and pain and suffering.

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 13.
COUNT |
Claim for Excessive Use of Force in Violation of the
Fourth Amendment Under 42 U.S.C. 1983

14, Plaintiff hereby restates and realleges paragraphs 1-13 above.

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 14.

15. The acts of Defendants Danielson and Spelich in striking and pushing
Beckwith to the ground constituted excessive and illegal force in violation of the Fourth
Amendment to the United States Constitution.

Answer: The City is without sufficient information to form a belief as

to the truth of the allegations of paragraph 15.

16. That asa direct and proximate cause of the above actions, Beckwith
suffered damages.

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 16.

COUNT Il
Arrest Without Probable Cause in Violation of the Fourth Amendment
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Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 6 of 7 PagelID #:18

17. Plaintiff hereby restates and realleges paragraphs 1-13 above.
Answer: The City repeats its answers to paragraphs 1 through 13.

18. OnApril 4, 2001 when defendants arrested Beckwith they did not have a
warrant for his arrest.

Answer: The City admits the allegations of paragraph 18.

49. On April45, 2001 when defendants arrested Beckwith he had not violated
any law of the State of Illinois or ordinance of the City of Chicago. :

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 19.

20. OnApril 5, 2002 when defendants arrested Beckwith they lacked probable
cause to believe that he had committed a crime.

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 20.

21. The arrest of Beckwith constituted an unreasonable arrest and seizure
under the Fourth Amendment to the United States Constitution.

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 21.

22.  Asadirect and proximate result of Beckwith’s arrest he suffered
damages. Oe oo

Answer: The City is without sufficient information to form a belief as
to the truth of the allegations of paragraph 22.
COUNT Ill
Claim Against City of Chicago Under 745 ILCS 10/9-102
23. Plaintiff hereby reincorporates paragraphs 1-22 above.

Answer: The City repeats its answers to paragraphs 1-22.
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Case: 1:02-cv-03420 Document #: 6 Filed: 07/22/02 Page 7 of 7 PagelD #:19

24. Atall times relevant to this complaint defendant City of Chicago was a
local public entity as defined by 745 ILCS 10/9 -102.

Answer: The City admits the allegations of paragraph 24.

25.  Atall times relevant to this complaint, defendants Danielson and Spelich
were employees of the City of Chicago acting within the scope of their employment.

Answer: The City admits the allegations of paragraph 25.

26. Pursuant to 745 ILCS 10/9-102 Defendant City of Chicago is required to
indemnify Danielson and Spelich for any compensatory damages awarded by the court
in this matter.

Answer: The City denies that this is a correct statement of the la.
745 ILCS 10/9-102 provides that a local public entity is
“empowered and directed to pay” any judgment for
compensatory damages awarded against an employee for
acts within the scope of his employment.

WHEREFORE, the City of Chicago demands judgment in its favor, together with
its costs.

MARA 8. GEORGES,
CORPORATION COUNSEL

CITY OF CAGO

SHARON BALDWIN
Assistant Corporation Counsel

30 N. LaSalle St., Suite 900
Chicago, Illinois 60602
(312) 744-6919
